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AO 91 (Rev. 01)'09) Criminal Comp|aint

UNITED STATES DISTRICT COURT

for the
District of New Mexico

 

United States of Arnerica ) L_, 3
v. ) l 8 QC) §§ \
) Case No:
Lidia Karine souzA §
)
Deféndant(s)
C'RIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief. On or about
the date of May 29, 2018 in the county of Dona Ana in the State and District of dew Mexico, the defendant violated §
U.S.C. §132§1311 1 MEWT Misdemeanor[, an offense described as follows:

entered and attempted to enter the United States at a time and place other than as designated by Immigration Officers

This criminal complaint is based on these facts:
On May 29, 2018, a United States Border Patrol Agent encountered the Defendant in Dona Ana County, New Mexico.
When questioned as to her citizenship the Defendant admitted to being a citizen of Mexico without authorimtion to enter
or remain in the United States. The Defendant knowingly entered the United States illegally on May 29, 2018, by crossing
the U.S./Mexico lntemational Boundaxy afoot, approximately eight miles east of the Santa Teresa, New Mexico Port of
Entry. This area is not a Port of Entry as designated by the Appropriate Authority of the United States. Thus, the
Defendant is present in the United States without admission by an Immigration Offtcer.

l:l Continued on the attached sheet.
‘t'omplar`nan!'.s' signature

Giovanni A. Cisneros _ Border Pat;ro| Agent
Printed name and title

 

Sworn to before me and signed in my presence.

Date: June l, 2018

GHEGORY nw
City and state: Las Cruces, N.M. U'S' MAG|SmA JUDGE

Prt'nred name and title

 

 

 

 

